     Case 2:22-cv-00272-TOR            ECF No. 55      filed 05/16/24     PageID.1297 Page 1 of 16




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 8
                                 UNITED STATES DISTRICT COURT
 9                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
10
11    AARON STREEPY, an individual,                        CASE NO. 3:24-mc-05005-DGE
12
                                        Movant,
                                              MOTION TO QUASH OR MODIFY
13                                            THIRD-PARTY SUBPOENA TO
         v.                                   TESTIFY AT DEPOSITION AND
14                                            MEMORANDUM IN SUPPORT
      JOSEPH H. EMMONS, individually, AND THEREOF
15    OSPREY FIELD CONSULTING LLC, a
      limited liability company,              NOTE ON MOTION CALENDAR:
16
                                              May 10, 2024
17                               Respondents.

18
                                                   MOTION
19
            Pursuant to Federal Rules of Civil Procedure 45(d)(3), non-party Aaron M. Streepy (“Mr.
20
     Streepy”), by and through undersigned counsel, moves this Court to quash or modify the subpoena
21
     Defendants served upon him on April 6, 2024, seeking his testimony in the above-captioned matter
22
     on Tuesday, April 23, 2024, at 9:00 AM. Prior to bringing this motion, undersigned counsel met
23
     and conferred with counsel for the Respondents but was unable to find a mutually agreeable
24
     resolution to this dispute. Declaration of Dmitri Iglitzin (Iglitzin Dec.), ¶¶ 3-4.
25
            As grounds for this motion, the undersigned states as follows:
26
27
      MOTION TO QUASH OR MODIFY
      THIRD-PARTY SUBPOENA - 1
      Case No.
      Case 2:22-cv-00272-TOR          ECF No. 55         filed 05/16/24   PageID.1298 Page 2 of 16




                                     MEMORANDUM IN SUPPORT
 1
 2
     I.     INTRODUCTION
 3
            The Respondents in this action seek to depose Mr. Streepy in relation to Guenther v.
 4
     Emmons, Civil Action No. 2:22-cv-00272-TOR (E.D. Wash.) (“Guenther”). Mr. Streepy is an
 5
     attorney in private practice and attorney of record for the Plaintiff in that case. Declaration of
 6
 7   Aaron Streepy (Streepy Dec.), ¶ 1, and Complaint, Guenther, attached as Ex. A thereto. The

 8   request is illegitimate, unfounded, and appears to be a calculated endeavor to encroach upon the

 9   confidential communications and work-product protections foundational to our legal system’s
10
     integrity. It is of significant concern that the Respondents’ strategy as Defendants in Guenther is,
11
     apparently, not to solicit testimony from other witnesses who may hold the same information, but
12
     rather to single out Mr. Streepy for questioning.
13
            Notably, the scope of the request to depose Mr. Streepy is unlimited, thus effectively
14
15   encompassing any information pertaining to the case in which he represents the Plaintiff. Such an

16   inquiry intrinsically intrudes upon domains safeguarded by the attorney-client privilege and the
17   work-product doctrine. Granting this subpoena would not only infringe upon the principles of
18
     privilege but also pave the way for troubling precedent that could potentially embolden similar
19
     tactics in future legal proceedings.
20
            Moreover, the use of subpoena power in this way abuses the process by engaging in unfair
21
22   litigation tactics in an attempt to gain an unfair litigation advantage. As the Courts have held:

23   “Deposing opposing counsel raises additional concerns as its increasing practice … [is] a negative

24   development in the area of litigation, and one that should be employed only in limited
25   circumstances.” Shelton v. Am. Motors Corp., 805 F.2d 1323, 1327 (8th Cir. 1986). Permitting
26
     depositions of opposing counsel “not only disrupts the adversarial system and lowers the standards
27
      MOTION TO QUASH OR MODIFY
      THIRD-PARTY SUBPOENA - 2
      Case No.
     Case 2:22-cv-00272-TOR           ECF No. 55       filed 05/16/24    PageID.1299 Page 3 of 16




     of the profession, but it also adds to the already burdensome time and costs of litigation.” Id. at
 1
 2   1327.

 3   II.     BACKGROUND

 4           Mr. Streepy is one of the attorneys representing Plaintiff Faye Irene Guenther (Plaintiff) in
 5   a claim alleging defamation and false light. Plaintiff is not Mr. Streepy’s only client. One of his
 6
     other clients was United Food and Commercial Workers Union, Local 1439 (“UFCW 1439”).
 7
     Streepy Dec., ¶ 2.
 8
             Mr. Streepy did not personally represent UFCW 1439 on any legal matter from 2011
 9
10   through the end of 2020. Beginning in mid-September 2021, Mr. Streepy was hired by UFCW

11   1439 to assist in an investigation into workplace complaints against UFCW 1439’s President Eric

12   Renner. This representation included Mr. Streepy interviewing current/former employees,
13   providing legal advice to UFCW 1439, and negotiating, along with in-house counsel, a resolution
14
     of claims through legal counsel and the union representing the complainants, third parties, and Mr.
15
     Renner. Streepy Dec., ¶ 3. This resolution was finalized on or about October 9, 2021. Streepy Dec.,
16
     ¶ 4.
17

18           Plaintiff was President of United Food and Commercial Workers, Local 21 (“Local 21”) at

19   the time Mr. Streepy represented UFCW 1439. Streepy Dec., ¶ 5. Local 21 was also a client of Mr.

20   Streepy. UFCW 1439 and Local 21 were separate organizations with distinct bylaws, officers,
21
     members, rules, leadership, and policies. Plaintiff was not the President or a member of UFCW
22
     1439. Streepy Dec., ¶ 6. Plaintiff had no authority, responsibility, or, to Mr. Streepy’s knowledge,
23
     information related to the details of his work or the investigation at UFCW 1439. During this time,
24
     Mr. Streepy did not consult with Plaintiff about his investigation, share details with her, or provide
25
26
27
      MOTION TO QUASH OR MODIFY
      THIRD-PARTY SUBPOENA - 3
      Case No.
     Case 2:22-cv-00272-TOR           ECF No. 55      filed 05/16/24    PageID.1300 Page 4 of 16




     any information related to the matter other than, possibly, to indicate that he represented UFCW
 1
 2   1439. Id.

 3          After the resolution of the complaints, Mr. Streepy was engaged by UFCW 1439 and Local

 4   21 on several matters related to their intention to merge and eventual merger. One matter is the
 5
     Guenther litigation, which involves the publication of an anonymous and defamatory flyer
 6
     implying that Plaintiff had made illegal bribes to install a “puppet” at a separate UFCW local based
 7
     in Tacoma, Washington and that she had helped Mr. Renner hide from sexual harassment charges.
 8
     Streepy Dec., ¶ 7.
 9
10          Plaintiff, Local 21, UFCW 1439 and UFCW 3000 (successor union formed in March 2022

11   when Local 21 and UFCW 1439 merged) filed suit against Defendants Emmons and his
12   “consulting” company. Streepy Dec., ¶ 9. Defendant Emmons eventually admitted during his
13
     deposition to publishing the flyer in-person in Spokane, Washington and failed to identify any
14
     attempts to verify the information except that his “mentor” (Michael Selvaggio) told him there had
15
     been investigations. Streepy Dec., ¶ 10. Defendant Emmons removed the case from Spokane
16
17   County to the Eastern District of Washington on grounds of diversity jurisdiction. In May 2023,

18   Plaintiffs Local 21, UFCW 1439, and UFCW 3000 were dismissed as plaintiffs because the

19   defamatory comments were made about Plaintiff, not the organizations. Streepy Dec., ¶¶ 13-14.
20          On August 29, 2023, counsel for Defendants drafted a letter expressing his desire to depose
21
     Mr. Streepy. In it, Defendants’ counsel stated he wanted to see the report related to the
22
     investigation at UFCW 1439 into allegations against Mr. Renner “since it will likely be relevant
23
     to the truth of the statements which your client complains … We will also want to depose you
24
25   about the circumstances relating to the investigation, the time and resources devoted to the

26   investigation, the facts uncovered and your conclusions.” Streepy Dec., ¶ 15. On March 12, 2024,

27
      MOTION TO QUASH OR MODIFY
      THIRD-PARTY SUBPOENA - 4
      Case No.
     Case 2:22-cv-00272-TOR             ECF No. 55    filed 05/16/24     PageID.1301 Page 5 of 16




     following a deposition, Defendants’ counsel once again indicated his desire to depose Mr. Streepy
 1
 2   by indicating that he wanted to know what Mr. Streepy said to Plaintiff about the investigation at

 3   UFCW 1439 and did not know how that was possible without getting it from Mr. Streepy. Streepy

 4   Dec., ¶ 17.
 5
            On April 3, 2024, Plaintiff moved for a voluntary dismissal. Streepy Dec., ¶ 18. The
 6
     following day, on April 4, 2024, Defendants disclosed their intent to depose Mr. Streepy. Streepy
 7
     Dec., ¶ 19. The subpoena attempts to compel testimony related to the case with no stated topical
 8
     limitations. The request for documents requests “All documents relating to the Complaint Letter”
 9
10   and “All documents relating to the Investigation.” The term “Relating to” is further defined broadly

11   including “… discussing … and/or otherwise dealing with the subject matter in any manner
12   whatsoever.” Iglitzin Dec., Ex. A.
13
            Plaintiff reached out to the presiding judge in the Guenther case to obtain a protective order
14
     to prevent additional costly discovery pending the resolution of her motion to dismiss. On
15
     April 8, 2024, Defendants’ attorney in that action represented to that court that he wished to depose
16
17   Mr. Streepy for the following reasons:

18          (1) “regarding his investigation [at UFCW 1439]”;

19          (2) “Plaintiff’s involvement in the investigation”;
20          (3) “an explanation of some of the notes he has supplied relating to his investigation”;
21
            (4) “and how it was that Renner was provided a senior officer’s position at the merged
22
                   entity at higher pay”.
23
     Streepy Dec., ¶ 24. On April 17, 2024, the Eastern District declined to grant Plaintiff a stay on
24
25   discovery. Streepy Dec., ¶ 25.

26
27
      MOTION TO QUASH OR MODIFY
      THIRD-PARTY SUBPOENA - 5
      Case No.
     Case 2:22-cv-00272-TOR            ECF No. 55     filed 05/16/24    PageID.1302 Page 6 of 16




            Respondents’ deposition subpoena is not limited consistent with Defendants’ counsel’s
 1
 2   representation to the Eastern District of Washington. On its face, the subpoena seeks to depose Mr.

 3   Streepy about the matter he is active litigation counsel without limitation and the subpoena for

 4   documents asks for anything “relating to” the Complaint Letter and to the UFCW 1439
 5
     investigation. Such questions and documents would automatically implicate his privileged
 6
     communications with his client.
 7
     III.   LAW AND ARGUMENT
 8
            A. This Court Should Grant The Motion To Quash Pursuant To Federal Rule Of
 9             Civil Procedure 45(d)(3)(A)(iv) Because Mr. Emmons’ Counsel’s Attempt To
10             Require Opposing Counsel In The Guenther Litigation To Appear For Deposition
               Would Subject Mr. Streepy To Undue Burden And Violates Sacrosanct Privileges.
11
            On timely motion, it is mandatory for this Court to quash or modify a subpoena that
12
     subjects a person to undue burden, fails to allow reasonable time to comply, or requires disclosure
13
     of privileged matter. Fed. R. Civ. P. 34(d)(3)(A). In this case, the subpoena (Iglitzin Dec. Exhibit
14
15   B) subjects Mr. Streepy to undue burden as it would automatically encroach on privileged matters

16   and does not provide a reasonable time to comply.
17          The United States Supreme Court in Hickman v. Taylor, recognized long ago that a lawyer,
18
     in preparing the client’s case, assembles information, sifts through what the lawyer considers to
19
     be relevant facts, prepares “legal theories and plan[s] strategy, without undue and needless
20
     interference” and this work, which has become known as counsel’s “work product,” is reflected
21
22   “in interviews, statements, memoranda, correspondence, briefs, mental impressions, personal

23   beliefs, and [in] countless other tangible and intangible ways.” Hickman v. Taylor, 329 U.S. 495,

24   511 (1947). The Court continued by explaining the rationale: “Were such material open to
25   opposing counsel on mere demand, much of what is now put down in writing would remain
26
     unwritten. An attorney’s thoughts, heretofore inviolate, would not be his own. Inefficiency,
27
      MOTION TO QUASH OR MODIFY
      THIRD-PARTY SUBPOENA - 6
      Case No.
     Case 2:22-cv-00272-TOR           ECF No. 55      filed 05/16/24    PageID.1303 Page 7 of 16




     unfairness and sharp practices would inevitably develop in the giving of legal advice and in the
 1
 2   preparation of cases for trial. The effect of the legal profession would be demoralizing. And the

 3   interests of the clients and the cause of justice would be poorly served.” Hickman, 329 U.S. at 510-

 4   511.
 5
            Even so, the practice of attempting to depose opposing counsel when the information is
 6
     available elsewhere continues. In condemning the practice, the Ninth Circuit described it as
 7
     follows: “Hardball litigation occurs when attorneys depart from the ‘high degree of civility and
 8
     respect’ on which ‘[o]ur adversarial system relies.’ [FIRM A] sought to depose [FIRM B lawyers]
 9
10   even though [they] were opposing counsel, not percipient witnesses. This tactic is often used for

11   the sole purpose of driving a wedge between a lawyer and his client. … Nominally, all of [FIRM
12   A’s] tactics failed. … But [FIRM A] won the war even though they lost all the battles. Despite the
13
     fact that each of their attacks was ultimately determined to be without merit, [FIRM A] succeeded
14
     in destroying [FIRM B] firm’s relations with their clients.” Morrill v. Scott Fin. Corp., 873 F.3d
15
     1136, 1150-1151 (9th Cir. 2017). That Mr. Streepy is forced to make this motion to quash, diverting
16
17   time, energy, and costs from representing his client, is a victory for Mr. Emmons.

18          A very limited exception to the rule prohibiting the deposition of opposing counsel exists

19   only “where relevant and non-privileged facts remain hidden in an attorney’s file, and where
20   production of those facts is essential to the preparation of one’s case, discovery may properly be
21
     had” and only upon showing of adequate justification. Hickman, 329 U.S. at 511. Otherwise, the
22
     work-product doctrine protects attorneys like Mr. Streepy’s mental impressions, including thought
23
     processes, opinions, conclusions, and legal theories. See id. at 511 (an attorney’s thoughts are
24
25   “inviolate”); Republic of Ecuador v. Mackay, 742 F.3d 860, 868 (9th Cir. 2014) (if this material

26   was not protected from discovery, “much of what is now put down in writing would remain

27
      MOTION TO QUASH OR MODIFY
      THIRD-PARTY SUBPOENA - 7
      Case No.
     Case 2:22-cv-00272-TOR          ECF No. 55       filed 05/16/24    PageID.1304 Page 8 of 16




     unwritten”… “[a]n attorney’s thoughts… would not be his own.”) In re Firestorm 1991, 916 P.2d
 1
 2   411, 429 (Wash. 1996) (intangible factual information concerning strategy in preparing to defend

 3   an anticipated action falls within the kind of intangible work product protected under Hickman as

 4   described by the commentators and a number of courts, constitutes opinion work product which is
 5
     rarely discoverable under Pappas, and is generally undiscoverable from a party's expert); In re
 6
     Murphy, 560 F.2d 326, 336 (8th Cir. 1977) (attorney’s opinion work product enjoys nearly absolute
 7
     immunity and can be discovered in very rare and extraordinary circumstances); Fed. R. Civ. P.
 8
     26(b)(3) (unlike ordinary work product, opinion work product cannot be discovered upon a
 9
10   showing of substantial need or undue hardship). Ninth Circuit courts follow the Necessary Witness

11   rule as set forth in Shelton v. American Motors Corp., 805 F.2d 1323 (8th Cir. 1986):
12          Finally, the practice of deposing counsel detracts from the quality of client
            representation. Counsel should be free to devote his or her time and efforts to
13
            preparing the client’s case without fear of being interrogated by his or her opponent.
14          Moreover, the “chilling effect that such practice will have on the truthful
            communications from the client to the attorney is obvious.
15
            We do not hold that opposing trial counsel is absolutely immune from being
16          deposed. We recognize that circumstances may arise in which the court should
17          order the taking of opposing counsel’s deposition. But those circumstances should
            be limited to where the party seeking to take the deposition has shown that (1) no
18          other means exists to obtain the information than to depose opposing counsel, see,
            e.g., Fireman’s Fund Insurance Co. v. Superior Court, 140 Cal.Rptr. 677, 679, 72
19          Cal.App.3d 786 (1977); (2) the information sought is relevant and nonprivileged;
            and (3) the information is crucial to the preparation of the case.
20
     Shelton, 805 F.2d at 1327; DiLorenzo v. Costco Wholesale Corp., 243 F.R.D. 413, 415 (W.D.
21
22   Wash. 2007) (district courts in the 9th circuit have uniformly followed the Eighth Circuit when

23   analyzing whether to permit the deposition of counsel.); Lloyd Lifestyle Ltd. v. Soaring Helmet
24   Corp., C06-0349C, [2006 BL 41202], 2006 WL 753243, *1-2, 2006 U.S. Dist. LEXIS 16539, *4
25
     (W.D.Wash. Mar. 23, 2006); see also Christensen Shipyards. Ltd. v. St. Paul Fire & Marine Ins.
26
     Co., 06-0641C (W.D.Wash. May 18, 2007), FMC Techs., Inc. v. Edwards, C05-0946C, [2007 BL
27
      MOTION TO QUASH OR MODIFY
      THIRD-PARTY SUBPOENA - 8
      Case No.
     Case 2:22-cv-00272-TOR           ECF No. 55      filed 05/16/24    PageID.1305 Page 9 of 16




     232822], 2007 WL 836709, *2-3, 2007 U.S. Dist. LEXIS 18328, *7-8 (W.D.Wash. Mar. 15,
 1
 2   2007).

 3            In this case, Respondents seek privileged information and cannot justify such an extreme

 4   invasion of sacrosanct privileges of attorney-client communications and work-product doctrine.
 5
     Despite Respondent’s assurances to the court in the Eastern District of Washington that he does
 6
     not wish to depose Mr. Streepy on privileged information, nothing in the subpoena indicates such
 7
     restraint. Moreover, while the subpoena has no limitation, Mr. DiLorenzo has stated elsewhere
 8
     that he seeks to know “how it was that Renner was provided a senior officer’s position at the
 9
10   merged entity at higher pay.” If Mr. Streepy knows anything about Mr. Renner’s working

11   conditions for UFCW 3000 which was formed in March 2022, there is no indication he would have
12   learned that in his role as the investigating attorney at UFCW 1439 in 2021. Such information
13
     would have been learned while representing his clients unrelated to the investigation and would
14
     be the type of communication with absolute privilege. Other statements are so vague it makes it
15
     impossible to determine whether he seeks privileged information or not. Mr. Emmons’ counsel
16
17   indicates that he wishes to depose him “regarding his investigation” without any topical specificity

18   that would allow anyone to know whether the queries will invade privilege.

19            Moreover, other means exist to obtain the information. These methods are also less
20   burdensome, less time-consuming methods that Mr. Emmons may pursue to obtain this
21
     information. For example, Mr. Emmons can depose Plaintiff about her “involvement in the
22
     investigation.” Mr. Emmons can depose Mr. Renner or a representative of UFCW 3000 about
23
     Renner’s employment at UFCW 3000 and his terms and conditions of employment. To the extent
24
25   they wish to depose Mr. Streepy “regarding his investigation” generally, the Defendants have

26
27
      MOTION TO QUASH OR MODIFY
      THIRD-PARTY SUBPOENA - 9
      Case No.
     Case 2:22-cv-00272-TOR          ECF No. 55       filed 05/16/24     PageID.1306 Page 10 of 16




     failed to specify a single fact that Mr. Streepy would be the exclusive source of the information as
 1
 2   the Complainants and UFCW 3000 are the best sources of fact evidence.

 3          Even Respondents’ claim that the deposition is sought to get “an explanation of some of

 4   the notes he [Mr. Streepy] has supplied relating to his investigation” is inappropriate. First,
 5
     Respondents confuse the nature of the notes. UFCW 3000, not Mr. Streepy, provided the notes, in
 6
     discovery. To the extent they seek clarification on any discovery material, Mr. Emmons’ counsel
 7
     should first raise that issue with whoever provided the material before immediately moving to
 8
     depose opposing counsel.
 9
10          Defendants’ document request is similarly inappropriate and intrusive upon the attorney-

11   client relationship. Mr. Emmons’ demand for all documents relating to the Complaint or
12   investigation into Mr. Renner would include, for example, any legal memorandum prepared by
13
     Mr. Streepy’s for his client in the current litigation. The request is also duplicative since the
14
     investigative notes have already been produced by UFCW 3000.
15
            Respondents also need to establish the information sought is not available elsewhere, which
16
17   they have not done.

18          The factors that weigh against the enforcement of the deposition subpoena include Mr.

19   Streepy’s status as a non-party in Guenther, his status as active litigation counsel in the underlying
20   case, that the risk of delving into topics protected by attorney-client privilege and work-product
21
     privilege is great, the ability of Mr. Emmons to obtain any relevant information from other sources
22
     which would not implicate the risk of divulging privileged information, and the failure of Mr.
23
     Emmons to exhaust alternative sources for the information sought. Conversely, no showing has
24
25   been made that the information sought cannot be obtained from other sources. On balance, the

26
27
      MOTION TO QUASH OR MODIFY
      THIRD-PARTY SUBPOENA - 10
      Case No.
     Case 2:22-cv-00272-TOR           ECF No. 55      filed 05/16/24    PageID.1307 Page 11 of 16




     deposition subpoena poses an undue burden on Mr. Streepy and his client. Thus, this Court should
 1
 2   enter an order granting this Motion to Quash the deposition subpoena of Mr. Streepy.

 3                                         IV.    CONCLUSION

 4            For the reasons stated above, the Movant respectfully requests this Court grant this motion
 5   to quash the deposition subpoena for Aaron Streepy.
 6
 7            I certify that this memorandum contains 2,926 words, in compliance with the Local Civil

 8   Rules.

 9
              RESPECTFULLY SUBMITTED this 19th day of April, 2024.
10
11                                                 s/Dmitri Iglitzin
                                                   Dmitri Iglitzin, WSBA No. 17673
12
                                                   BARNARD IGLITZIN & LAVITT LLP
13                                                 18 W Mercer St, Suite 400
                                                   Seattle, WA 98119
14                                                 Tel: (206) 257-6003
                                                   Fax: (206) 378-4132
15                                                 iglitzin@workerlaw.com
16
                                                   Attorneys for Aaron Streepy
17

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27
      MOTION TO QUASH OR MODIFY
      THIRD-PARTY SUBPOENA - 11
      Case No.
     Case 2:22-cv-00272-TOR         ECF No. 55       filed 05/16/24   PageID.1308 Page 12 of 16




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 8                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 9
                                         AT SEATTLE
10
      AARON STREEPY, an individual,                     CASE NO. 3:24-mc-05005-DGE
11
12                                    Movant,           [PROPOSED] ORDER GRANTING
                                                        MOTION TO QUASH OR MODIFY
13       v.                                             THIRD-PARTY SUBPOENA TO
                                                        TESTIFY AT DEPOSITION
14    JOSEPH H. EMMONS, individually, AND
      OSPREY FIELD CONSULTING LLC, a
15
      limited liability company,
16
                                      Respondents.
17

18            THIS MATTER came before the Court on non-party Aaron M. Streepy’s Motion to Quash
19
     Or Modify the deposition subpoena that was served on Aaron Streepy. Having reviewed the
20
     Motion, the opposition, and reply, and all supporting papers, the Court GRANTS the motion to
21
     quash the subpoena.
22
              It is so ORDERED this _____ day of April, 2024.
23
24
25                                                       ____________________________
                                                         The Honorable
26
27
      [PROPOSED] ORDER GRANTING MOTION TO
      QUASH OR MODIFYTHIRD-PARTY SUBPOENA - 1
      Case No.
     Case 2:22-cv-00272-TOR        ECF No. 55   filed 05/16/24   PageID.1309 Page 13 of 16




 1   Presented by:
 2

 3   s/Dmitri Iglitzin
     Dmitri Iglitzin, WSBA No. 17673
 4   BARNARD IGLITZIN & LAVITT LLP
     18 W Mercer Street, Suite 400
 5   Seattle, WA 98119
     Tel: (206) 257-6003
 6
     Fax: (206) 378-4132
 7   iglitzin@workerlaw.com

 8   Attorneys for Aaron Streepy

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27
      [PROPOSED] ORDER GRANTING MOTION TO
      QUASH OR MODIFYTHIRD-PARTY SUBPOENA - 2
      Case No.
     Case 2:22-cv-00272-TOR          ECF No. 55       filed 05/16/24   PageID.1310 Page 14 of 16




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 8                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 9
                                            AT SEATTLE
10
      AARON STREEPY, an individual,                      CASE NO. 3:24-mc-05005-DGE
11
12                                     Movant,           DECLARATION OF SERVICE

13       v.

14    JOSEPH H. EMMONS, individually, AND
      OSPREY FIELD CONSULTING LLC, a
15
      limited liability company,
16
                                       Respondents.
17

18            I, Elinor Engle, hereby certify that on the date noted below, I emailed true and correct
19
     copies of the Motion to Quash or Modify Third-Party Subpoena to Testify at Deposition and
20
     Memorandum in Support Thereof, Declaration of Dmitri Iglitzin with Exhibit(s), Declaration of
21
     Aaron      Streepy    with    Exhibit(s),   Proposed     Order,   and    this   Declaration    to
22
     newcases.seattle@wawd.uscourts.gov for filing, and to the following parties as indicated below:
23
24
25
26
27
      DECLARATION OF SERVICE - 1
      Case No.
     Case 2:22-cv-00272-TOR      ECF No. 55      filed 05/16/24   PageID.1311 Page 15 of 16




         PARTY/COUNSEL                                     DELIVERY METHOD
 1
         United States District Court                      ☐   Hand Delivery
 2       Western District of Washington at Seattle         ☐   Certified Mail
         Newcases.seattle@wawd.uscourts.gov                ☐   Facsimile
 3
                                                           ☒   E-mail
 4                                                         ☐   U.S. Mail
 5                                                         ☐   E-Service
         John DiLorenzo, Esq.                              ☐   Hand Delivery
 6       Davis Wright Tremaine, LLP                        ☐   Certified Mail
         johndilorenzo@dwt.com                             ☐   Facsimile
 7
                                                           ☒   E-mail
 8                                                         ☐   U.S. Mail
         Accepting service for all Defendants in
 9       2:22-cv-00272-TOR, Guenther v. Emmons et al       ☐   E-Service
         Nicholas D. Kovarik, Esq.                         ☐   Hand Delivery
10       Piskel Yahne Kovarik, PLLC                        ☐   Certified Mail
         nick@pyklawyers.com                               ☐   Facsimile
11
                                                           ☒   E-mail
12                                                         ☐   U.S. Mail
         Counsel for Plaintiff Faye Irene Guenther in
13       2:22-cv-00272-TOR, Guenther v. Emmons et al       ☐   E-Service
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          DATED this 19th day of April, 2024, at Bonney Lake, Washington.
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                                               Elinor Engle, Paralegal
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     DECLARATION OF SERVICE - 2
     Case No.
Case 2:22-cv-00272-TOR   ECF No. 55   filed 05/16/24   PageID.1312 Page 16 of 16
